Case 2:16-cv-03930-CMR Document 12 Filed 07/28/16 Page 1 of 2
        Case 2:16-cv-03930-CMR Document 12 Filed 07/28/16 Page 2 of 2



                                  CERTIFICATE OF SERVICE

       I hereby certify that on the date shown below, a copy of a Disclosure Statement Form
Pursuant to Fed. R. Civ. P. 7.1 completed by Defendant Adtelligent Media, LLC was filed of
record with the Court’s CM/ECF system and was served on counsel of record via the Court’s ECF
system.



Date: July 28, 2016                By:    /s/ JEFFREY S. FELDMAN
                                          Jeffrey S. Feldman, Esq.
                                          Pa. Atty. I.D. No. 80352
                                          FRIEDMAN SCHUMAN, P.C.
                                          101 Greenwood Avenue, 5th Floor
                                          Jenkintown, PA 19046-2636
                                          Tel: 215-690-3824; Fax: 215-635-7212
                                          E-mail: jfeldman@fsalaw.com

                                          Counsel for Defendants Jovan Caputo, Philip Lynch
                                          and Adtelligent Media, LLC
